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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TENNESSEE
                                 WESTERN DIVISION

DAVID E. REED                                                                   PLAINTIFF


VERSUS                                          CIVIL ACTION NO.: 2:18-cv-2503-JPM-cgc



FEDEX CORPORATE SERVICES, INC.                                            DEFENDANTS


            NOTICE OF SERVICE OF PLAINTIFF’S EXPERT DESGNATION


       PLEASE TAKE NOTICE that Plaintiff has this day served the following:

       1.      Plaintiff’s Expert Designation

       A true and correct copy of this Notice has been served upon the Defendants. The original
pleading is being retained in the possession of counsel for the Plaintiff.


THIS the 1st day of April, 2019.

                                                Respectfully submitted,
                                                David Reed

                                                /s/ Kristy L. Bennett
                                                Kristy L. Bennett BPR #30016
                                                Tressa V. Johnson BPR #26401
                                                JOHNSON AND BENNETT, PLLC
                                                1331 Union Avenue, Suite 1226
                                                Memphis, TN 38104
                                                (901) 402-6830 (direct)
                                                (901) 462-8629 (fax)
                                                kristy@myjbfirm.com
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                                   CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the foregoing has been

filed with the Clerk of the United States District Court for the Western District of Tennessee using

the CM/ECF system. The Court’s CM/ECF system will send an email notification of the foregoing

filing to the following parties and counsel of record who are registered with the Court’s CM/ECF

system.


Brian Coleman and
Barak J. Babcock
Federal Express Corporation
3620 Hacks Cross Road
Building B – 3rd Floor
Memphis, TN 38125


THIS the 1st day of April, 2019.




                                                                     /s/ Kristy L. Bennett
                                                                     Kristy L. Bennett
